       Case 8:22-cv-00099-DOC-DFM Document 232 Filed 03/18/22 Page 1 of 5 Page ID #:3825




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             8                         UNITED STATES DISTRICT COURT
             9         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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           11 JOHN C. EASTMAN,                              Case No. 8:22-cv-00099-DOC-DFM
           12                                               DEFENDANT CHAPMAN
                              Plaintiff,                    UNIVERSITY’S BRIEF IN
           13                                               OPPOSITION TO PLAINTIFF
                       v.                                   JOHN C. EASTMAN’S MOTION
           14                                               FOR EARLY DISCOVERY
              BENNIE G. THOMPSON, in his
           15 official capacity as Chairman of the          Judge:            Hon. David O. Carter
              House Select Committee to Investigate         Magistrate Judge: Hon. Douglas F.
           16 the January 6 Attack on the United            McCormick
              States Capitol                                Crtrm.:           9D
           17                                               Trial Date:       not set
              SELECT COMMITTEE TO
           18 INVESTIGATE THE JANUARY 6TH
              ATTACK ON THE UNITED STATES
           19 CAPITOL
           20 CHAPMAN UNIVERSITY,
           21                 Defendants.
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       Case 8:22-cv-00099-DOC-DFM Document 232 Filed 03/18/22 Page 2 of 5 Page ID #:3826




             1                                  I.INTRODUCTION
             2         The Court should deny Plaintiff John Eastman’s request for early discovery
             3 because he has not established a sufficient basis or need to engage in the early
             4 discovery he proposes, there are other ways the Court can further develop the issue
             5 of potential waiver based on Eastman’s use of Chapman’s email system for his
             6 representation of a the former President or his campaign, and because Eastman has
             7 not established that his need for the proposed discovery outweighs the prejudice to
             8 Chapman.
             9                                   II. ARGUMENT
           10          Eastman cites two cases in support of his motion for leave to conduct early
           11 discovery; neither is applicable here. Both cases arise in the unique context of
           12 copyright infringement actions, where the plaintiff was seeking early leave to issue a
           13 third-party subpoena to ascertain the identity of the alleged infringer in order to
           14 proceed with its case. In Malibu Media, LLC v. Doe, 319 F.R.D. 299 (E.D. Cal.
           15 2016) the plaintiff’s motion was unopposed. The plaintiff asserted the third party
           16 subpoena was the only way to identify the account holder associated with the IP
           17 address of the alleged infringer. The court summarized Ninth Circuit precedent as
           18 providing: “Good cause exists where the need for expedited discovery, in
           19 consideration of the administration of justice, outweighs the prejudice to the
           20 responding party.” (Id. at 302.) Not surprisingly, the court held that the need to
           21 identify the alleged infringer, through the only means available for doing so,
           22 justified the issuance of the subpoena.
           23          In AF Holdings LLC v. Doe, 2012 WL 6608993 (E.D. Cal. 2012), the court
           24 granted a request for early discovery in the same context, using the same balancing
           25 test. There, in balancing the need for the discovery in consideration of the
           26 administration of justice, the court noted that the plaintiff could not proceed with its
           27 case without the requested information and there was a compelling need for early
            28 discovery because the information might not be available later. Finally, the court
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       Case 8:22-cv-00099-DOC-DFM Document 232 Filed 03/18/22 Page 3 of 5 Page ID #:3827




             1 noted that it “would not seem to be excessively burdensome for the identified ISP to
             2 provide the information sought here.” (Id. at 2.)
             3         Here, Eastman has not established a compelling need to conduct early
             4 discovery. On the issue of Eastman’s authorization to represent the former
             5 President, Eastman has provided evidence through his declaration, and Chapman’s
             6 position has been presented to the Court. With respect to the time 2020 election, the
             7 Court already has the public statement of Chapman President Daniele Struppa on
             8 December 10, 2020, in direct reference to Eastman’s representation of the former
             9 President, that “acting privately, Chapman faculty and staff are not free to use
           10 Chapman University’s email address, physical address or telephone number in
           11 connection with the support of a political candidate.” (See Congressional
           12 Defendants’ Brief in Opposition to Plaintiff’s Privilege Assertions, Dkt. No. 164-1
           13 at 26:12-18, citing Dawn Bonker, President Struppa’s Message on Supreme Court
           14 Case, Chapman University (Dec. 10, 2020), https://perma.cc/3CTG-4DBN.)
           15          The Court also has the declaration of Chapman’s General Counsel, that based
           16 on Chapman’s policies and IRS regulations, “any use of Chapman’s systems by
           17 Eastman to support a political campaign or candidate for elective office would have
           18 been improper and unauthorized.” (DuMontelle declaration, Dkt. No 17-1 at 3:25-
           19 4:1.)
           20          With respect to the 2000 election, Eastman’s declaration states only that he
           21 was invited to testify before the Florida legislature, formally retained by that
           22 legislature, and “participated as an attorney” in election-related litigation. (Eastman
           23 declaration, Dkt. No. 132-1 at 3:3-8.) Eastman states that with the approval of the
           24 law school’s then-dean, Parham Williams, he used Chapman’s email system and
           25 Chapman law students “to assist with the research for my testimony before the
           26 Florida legislature and my ultimate retention by the Florida legislature for the
           27 drafting of legislation. . . .” (Id. at 3:9-18.) Eastman characterizes this work as
            28 being “in support of” George W. Bush, but notably, he does not say he was Bush’s
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CONNAUGHTON LLP                                  EARLY DISCOVERY
       Case 8:22-cv-00099-DOC-DFM Document 232 Filed 03/18/22 Page 4 of 5 Page ID #:3828




             1 lawyer. (Ibid.) Eastman then says his efforts – specifically, his advice to and
             2 engagement by a state legislature – were applauded by the University. (Ibid.)
             3         None of this matters to the issue before this Court. Eastman has never
             4 asserted he represented candidate Bush or his campaign, or that he asked for or was
             5 granted authorization to do so. In his carefully-worded declaration, Eastman says
             6 the Dean and the University approved only of his efforts to advise the Florida
             7 legislature on election-related matters. That is not even remotely similar to what
             8 Eastman did in late 2020 and early 2021 when he represented a presidential
             9 candidate and/or his campaign. In any case, what happened 20 years ago under a
           10 different law school dean and different University president is of limited value in
           11 determining what Eastman was authorized to do in 2020 and 2021, especially where
           12 the Court already has a specific statement by President Struppa in December 2020
           13 that directly addresses Eastman’s use of Chapman resources to represent the former
           14 President in 2020.
           15          To develop these marginally relevant facts, Eastman has asked to engage in a
           16 wide variety of discovery, including document requests, interrogatories, document
           17 requests, and an unspecified number of depositions. This will take considerable
           18 time and impose significant burden and expense on Chapman. If Eastman intends
           19 on deposing colleagues from his past when Eastman engaged in post-election
           20 activities in 2000, such as former Dean Williams, this would involve third parties.
           21 For example, former Dean Williams is no longer employed by Chapman and lives
           22 outside of California. Responding to discovery and attending multiple depositions,
           23 including out-of-state depositions, would be very expensive and burdensome for
           24 Chapman.
           25          Finally, unlike the two cases upon which Eastman relies, engaging in time-
           26 consuming and costly discovery is not the only way for this Court to further develop
           27 the issue of whether Eastman was authorized to use Chapman’s email system to
            28 represent the former President. Counsel’s statements during various hearings in this
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       Case 8:22-cv-00099-DOC-DFM Document 232 Filed 03/18/22 Page 5 of 5 Page ID #:3829




             1 action about whether Eastman was authorized to use Chapman’s resources to
             2 represent the former President were all based upon information provided by
             3 witnesses with personal knowledge. Should the Court require information in
             4 addition to President Struppa’s statement and General Counsel DuMontelle’s
             5 declaration, Chapman can submit declarations from Matthew Parlow (the Dean of
             6 Chapman’s law school during the period covered by the Select Committee’s
             7 subpoena at issue in this proceeding), as well as the University’s President in 2000
             8 (Jams Doti) and former Dean Williams, confirming that they never authorized
             9 Eastman to use Chapman’s resources to represent any candidate for elected office or
           10 their campaign.
           11                                   III. CONCLUSION
           12          The Court should deny Eastman’s motion for early discovery. Alternatively,
           13 Chapman can provide declarations of the law school deans in 2000/2001 and
           14 2020/2021, and the University’s President in 2000/2001 attesting that they did not
           15 authorize, and would not have authorized, Eastman to represent a political candidate
           16 or campaign.
           17 Dated: March 18, 2022                PAUL, PLEVIN, SULLIVAN &
                                                   CONNAUGHTON LLP
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                                                   By:         /s/ FRED M. PLEVIN
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                                                         FRED M. PLEVIN
           21                                            Attorneys for Defendant Chapman
           22                                            University

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